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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


UNITED STATES OF AMERICA


                                                     Case No.: 3:07-cr-244-HES-MCR-2


JOHNNY LEE JACKSON, JR.


                                           ORDER

       On January 29, 2008, following a hearing on Defendant's First Motion to Suppress

Evidence (Doc. No. 21, filed October 26, 2007), the Magistrate Judge issued a Report and

Recommendation denying the Motion (Doc. No. 57). Defendant filed Objections to the Report

and Recommendation (Doc. No. 73, filed February 22,2008), and the United States filed a

Response in Opposition (Doc. No. 75, filed February 26,2008).

       Pursuant to 28 U.S.C. 5 636(b)(l), a party may file written objections to a Magistrate's

Report and Recommendation within ten days of being served with a copy. The district court then

must make a de novo determination with respect to the portions of the Report and

Recommendation to which the objections are made. 28 U.S.C. 5 636(b)(1); see Thomas v. Am,

474 U.S. 140, 150-151 (1985).

       Defendant makes five objections to the Magistrate's report, which are as follows: (1) the

Magistrate erred in concluding that at the suppression hearing defense counsel had waived his

argument that the police had effectuated an illegal traffic stop; (2) the Magistrate misunderstood

Defense counsel's argument regarding the issue of probable cause with respect to the search of
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the vehicle following the traffic stop; thus, leading to a flawed legal analysis; (3) the Magistrate's

findings of fact with regard to the issue of consent was erroneous and contrary to the facts; (4)

the Magistrate failed to address the issue of whether officers had probable cause to seize the

Defendant's vehicle following two roadside searches prompted by dog sniffs; and (5) the

Magistrate erred in finding that the Defendant was not seized based on the fact that his passenger

was free to leave.

       Upon consideration of the Report and Recommendation, and upon conducting an

independent de novo review of the entire record in this matter, including the Defendant's

Objections and the transcript of the suppression hearing, it is

       ORDERED, DECREED AND ADJUDGED

        1. Defendant's Objections to the Magistrate's Report and Recommendation (Doc. No.

73) are OVERRULED.

       2. The Court confirms the Magistrate Judge's findings of fact and conclusions of law,

and the Report and Recommendation (Doc. No. 57) is ADOPTED as the opinion of the Court.



               DONE AND ENTERED at Jacksonville, Florida, this           bxyy       of March, 2008.




Copies to:

Edward Joel Abramson, Esq.
Andrew Tysen Duva, AUSA
Bonnie Ames Glober, AUSA
Hon. Monte C. Richardson
Law Clerk (MCR)
